                 Case 23-10585-JKS         Doc 307-2       Filed 04/22/24       Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                            )   Chapter 7
                                                      )
    JC USA, Inc., et al., 1                           )   Case No. 23-10585 (JKS)
                                                      )
                              Debtors.                )   (Jointly Administered)
                                                      )
                                                      )   Obj. Deadline: May 6, 2024 at 4:00 p.m. (ET)
                                                      )   Hearing Date: May 14, 2024 at 1:00 p.m. (ET)

        NOTICE OF MOTION OF DON A. BESKRONE, CHAPTER 7 TRUSTEE,
        PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(b), FED. R. BANKR. P. 6004,
    AND LOCAL RULE 6004-1, FOR AN ORDER AUTHORIZING THE PRIVATE SALE
            OF CERTAIN VISA/MASTERCARD LITIGATION CLAIMS

        PLEASE TAKE NOTICE that on April 22, 2024, Don A. Beskrone, in his capacity as
the duly appointed Chapter 7 trustee (the “Trustee”) in the above-captioned cases and for the
above-referenced debtors (collectively, the “Debtors”), by and through his undersigned counsel,
Ashby & Geddes, P.A, filed the Motion of Don A. Beskrone, Chapter 7 Trustee, Pursuant to 11
U.S.C. §§ 105(a) and 363(b), Fed. R. Bankr. P. 6004 and Local Rule 6004-1, For An Order
Authorizing the Private Sale of Certain Visa/Mastercard Litigation Claims (the “Motion”) with
the United States Bankruptcy Court for the District of Delaware.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the
Motion must be (a) in writing and served on or before May 6, 2024 at 4:00 p.m. (ET) (the
“Objection Deadline”); (b) filed with the Clerk of the United States Bankruptcy Court for the
District of Delaware, 824 N. Market Street, 3rd Floor, Wilmington, DE 19801; and (c) served as
to be received on or before the Objection Deadline by the undersigned counsel.

      PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL
BE HELD ON MAY 14, 2024 AT 1:00 P.M. (ET) BEFORE THE HONORABLE J. KATE
STICKLES, UNITED STATES BANKRUPTCY JUDGE FOR THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
5TH FLOOR, COURTROOM #6, WILMINGTON, DE 19801.




1
 The Debtors in these cases, along with the last four digits of their federal tax identification numbers, are:
JC USA, Inc. (0028), JC Franchising, Inc. (7656), New JC Holdings, Inc. (1506), JC Acquisition, Inc.
(2395), JC Inter. Holdings, Inc. (3621) and JC Hold, LLC (4170).


{02008722;v1 }
                 Case 23-10585-JKS   Doc 307-2   Filed 04/22/24   Page 2 of 2




    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.


 Dated: April 22, 2024                       ASHBY & GEDDES, P.A.

                                              /s/ Ricardo Palacio
                                             Ricardo Palacio (DE Bar No. 3765)
                                             Benjamin W. Keenan (DE Bar No. 4724)
                                             500 Delaware Avenue, 8th Floor
                                             P.O. Box 1150
                                             Wilmington, Delaware 19899
                                             Tel: (302) 654-1888
                                             Email: RPalacio@ashbygeddes.com
                                                     BKeenan@ashbygeddes.com

                                             Counsel for Don A. Beskrone,
                                             Chapter 7 Trustee




{02008722;v1 }
